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FILED

UNITED STATES DISTRICT COURT 797) yap _
MIDDLE DISTRICT OF FLORIDA 9 AN IO: 04

 

TAMPA DIVISION MIND) COUR
OR NOG, FLORIO OA

GEORGE ZIMMERMAN,

Plaintiff,
V. Case No: 8:20-cv-1077-CEH-CPT
PETE BUTTIGIEG and ELIZABETH
WARREN,

Defendants.

y
AMENDED COMPLAINT

 

I. The Parties to This Complaint
A. Plaintiff

George Zimmerman
Lakeland , Florida

B. Defendants
Defendant No.1

Pete Buttigieg

United States Secretary of Transportation
c/o Peter for America

P.O. Box 1226

South Bend, Indiana 46624

info@wintheera.com
Defendant No. 2

Elizabeth Warren
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United States Senator
2400 JFK Federal Building
15 New Sudbury Street
Boston, MA 02203

(617) 565-3170

Il. Basis for Jurisdiction

Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of

citizenship case.

A. The Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff is an individual.

a. The Plaintiff George Zimmerman, is a citizen of the State
of Florida.

2. The Defendant(s)
a. The Defendant is an individual.

The Defendant Pete Buttigieg is a citizen if the State of
Indiana.

b. The Defendant is an individual.

The Defendant Elizabeth Warren is a citizen of the State
of Massachusetts

3. The amount in controversy the Defendants owes or the amount at

stake is more than $75,000. Mr. Zimmerman has experience
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working as a forensic fraud underwriter for Digital Risk. Mr.
Zimmerman had gained traction in obtaining employment which
was commensurate with his training and experience. The tweets
by Pete Buttigieg and Elizabeth Warren caused Mr. Zimmerman
to be noticed unfavorably by potential employers and stopped him
from getting interviews. The jobs he is able to get pay at a
substantially reduced rate of pay. Mr. Zimmerman at great
expense has also had to change residences multiple times to

protect himself.

Ill. Statement of Claim

1. Plaintiff files this action against Buttigieg and Warren asserting three
claims—general defamation, defamation by implication, and defamation per
se— against both.

2. OnFebruary 26, 2012, twenty-nine year-old George Zimmerman discharged a
single shot to stop seventeen year-old Trayvon Martin from assaulting him,
following an incident between the two at the Retreat at Twin Lakes townhome
community in Florida where Zimmerman lived and was a member of the
neighborhood watch.

3. Plaintiff Zimmerman was charged with second-degree murder and acquitted by

a jury on July 13, 2013.
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4. Plaintiff Zimmerman and his family have been the target of death threats ever
since.

5. Due to the massive publicity after the shooting, the nationwide protests
demanding his arrest without cause, the subsequent 2013 trial and his acquittal
of all charges, and the acts of protest and violence that continue to this day in
the name of Trayvon Martin, George Zimmerman’s name is 100% synonymous
with Trayvon Martin and the incident that resulted in Martin’s death.

6. The actions giving rise to this lawsuit occurred on February 5, 2020 when

defendant Pete Buttigieg made the following tweet:

hy Pete Buttigieg @ @PeteButtigieg - Feb 5
Es Trayvon Martin would have been 25 today.

How many 25th birthdays have been stolen from us by white supremacy, gun
violence, prejudice, and fear?

#BlackLivesMatter ee

© 13.3K 1 5.6K © 421K

7. The tweet was read by the following Florida residents: See EXHIBIT 1

a. Christine Costello
2008 Greenwood Valley Drive
Plant City, Florida 33563
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b. Richard Baris
2939 NW 43” Avenue
Gainesville, Florida 32605

Cc. Mandy Ellzey
5940 Kendrew Drive
Port Orange, Florida 32127

d. Robert Mas
8762 NW 158" Street
Hialeah, Florida 33018

e. Richard O’Brien
2830 Se Tate Avenue
Port Saint Lucie, Florida 34984

f. Leon Zhivelev (@Leonfunking)
447 NE 195™ Street
Apt. 309
Miami, Florida 33179

g. Steven Lemongello
Orlando Sentinel
February 5, 2020
‘Pete Buttigieig honors Trayvon Martin’s 25" birthday tweets,
‘BlackLivesMatter’”
8. Defendant Buttigieg is an American politician and was a 2020 candidate for the
Democratic Party nomination for President of the United States of America.
9. Defendant Buttigieg allegedly had 1,600,000 followers on the social media
platform, Twitter, and tweeted multiple times per day in order to build political

support—among other things.
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10. Defendant Buttigieg’s tweet implied that Trayvon Martin’s death was a result
of “white supremacy, gun violence, prejudice, and fear, ” all of which the public
would understand as referring only to George Zimmerman, who is known to
have caused Trayvon Martin’s death by shooting him, even though Buttigieg
knew that the 2013 trial jury acquitted Zimmerman of all charges.

11. Defendant Buttigieg disparaged Zimmerman and further subjected him to hate.

12. In only three days, the tweet received 42,000 likes, 13,300 replies, and 6,600
retweets as well as national media coverage, including in the state of Florida—
which is the third largest state and crucial to win the 2020 presidential
Democratic primary and general presidential election.

13. Defendant Elizabeth Warren, a nationally known public figure and 2020
candidate for the Democratic party nomination for President of the United
States, also tweeted about Trayvon Martin that day.

14. Defendant Warren tweeted the following statement to her 3,600,000 followers

on Twitter:
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My heart goes out to @SybrinaFulton and Trayvon's
family and friends. He should still be with us today.

We need to end gun violence and racism. And we need
to build a world where all of our children—especially
young Black boys—can grow up safe and free.

G Frederick Joseph @ @fredTioseph feb 5
Today would have been Trayvon Martin‘s 25th birthday.

His memory should always have a place in our hearts, and his tragedy should always
have a place in our work. #HappyBirthdayTrayvon

 

8:13 PM - Feb 5, 2020 - Twitter Web App

WRetweets 7.4K Likes

15. In only three days, the tweet received 7,300 likes and 1,000 retweets, as well
as national media coverage, including in the state of Florida.
16. The tweet was read by the following Florida residents: See EXHIBIT 2
a. Greg Angel
11 W Harding St
Orlando, Florida 32806

b. Darren Freeman
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1006 S Lake Mariam Dr
Winter Haven, Florida 33884

c. Paul Hurteau, Jr

66 Hatteras Ave

Winter Haven, Florida 33880
d. Amber Q Perry

8516 Fortress Dr

Tampa, Florida 33621
e. Farah Tavakoli

953 Northridge Dr

Palm Harbor, Florida 34683
f. Gail Young

1010 Dotterel Rd Apt 217

Delray Beach, Florida 3344

16. Like Buttigieg, Warren was very knowledgeable of the facts surrounding the
2012 incident in which Trayvon Martin died and that Zimmerman’s name
was synonymous with that incident.

17. Defendant Warren’s tweet was defamatory because it characterized Martin’s
death as the result of gun violence, even though Warren was aware that
Zimmerman’s act was one of self-defense and that he was acquitted of all
charges based on the evidence.

18. Both Buttigieg and Warren, in sending the respective tweets, acted with
actual malice towards Zimmerman, because—among other things—they
knew of his acquittal.

19. Defendants Buttigieg and Warren they had a preconceived plan to discredit

and destroy him as part of their political agenda to garner votes in the black

community before the 2020 election.
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Buttigieg had expressed concern over the well-documented lack of electoral
support for his candidacy among African American voters in polling and
Warren also lacked the support of African American voters, which she was
seeking.

Personal jurisdiction exists because the tweets were read by at least six
people in Florida.

The tweets are referring to the Plaintiff because it is universally known that

he shot Trayvon Martin.
FIRST CAUSE OF ACTION

General Defamation

Defendants Buttigieg and Warren
Plaintiff Zimmerman repeats and re-alleges all of the previous allegations of
the entirety of this Complaint with the same force and effect, as if fully set
forth herein again at length.
Defendants, together and both of them acting in concert, jointly and
severally, and individually, have defamed Plaintiff Zimmerman by
knowingly, intentionally, willfully, and recklessly publishing statements
about him which they knew or should have known to be false and misleading
and/or were published with reckless disregard for the truth.
Defendants’ defamatory tweets were not privileged in any way or manner.
To establish general defamation, a plaintiff need only show that a person or
entity (1) published a false statement of fact; (2) about another person; (3) to
a third party; and (4) the falsity of the statement caused injury to the other

person.
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35.

The false, defamatory and misleading tweets about Plaintiff Zimmerman
were published and the falsity of the statements caused injury to him.
Defendants knew or had reason to know that their tweets were false and
misleading and/or published with a reckless disregard for the truth.
The false impression of Plaintiff Zimmerman, which Defendants created,
caused irreparable harm to him, his business and person and his calling, as
well as to his good will and reputation, as well as harmed his family.
Defendants published false, misleading slanderous, defamatory statements to
severely harm and damage Plaintiff Zimmerman on their public Twitter posts
on February 5, 2020.
These false, misleading and defamatory statements were disseminated on
the Internet to the public and directly to millions of their followers, and
republished for persons in this circuit and the entire world to see and hear.
These false, misleading and defamatory tweets were further disseminated
by thousands of “retweets” and “likes” by thousands of their followers and
others and covered by the media, which was the intent of their postings and
publications.

SECOND CAUSE OF ACTION

Defamation by Implication

Defendants Buttigieg and Warren
Plaintiff Zimmerman repeats and re-alleges all of the previous allegations
of the entirety of this Complaint with the same force and effect, as if fully

set forth herein again at length.

Defendants, together and both of them acting in concert, jointly and severally,

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and individually, have defamed Plaintiff Zimmerman by knowingly,
intentionally, willfully, and recklessly publishing statements about him which

they knew or should have known to be false and misleading.

Defendants’ defamatory tweets were not privileged in any way or manner.
36.

37. Defamation by implication is a tort recognized in Florida. Defendants
juxtaposed a series of facts so as to imply a defamatory connection between
them.

38. Defendants, together and both of them acting in concert, jointly and severally,
and individually, published false statements about Plaintiff Zimmerman and
these statements were defamatory in that they created a false impression of him.

39. Defendants, together and both of them acting in concert, jointly and severally,
and individually, juxtaposed a series of facts so as to imply a defamatory
connection between them or, in the alternative, created a defamatory implication
by omitting facts when describing the nature and sequence of events.

40. Areasonable person would understand Defendants’ statements to impart the false
innuendo, which would be highly offensive to a reasonable person.

41. Defendants, both of them, intended or endorsed the defamatory inferences that
the published statements created and these false, defamatory and misleading
statements were made with actual malice.

42. The false impression of Plaintiff Zimmerman, which Defendants created, caused
irreparable harm to him, his reputation, his business and person and his calling.

43. Defendants published false, misleading slanderous, defamatory statements to
severely harm and damage Plaintiff Zimmerman on their public Twitter posts on

February 5, 2020.

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44. These false, misleading and defamatory statements were disseminated on the
Internet to the public and directly to millions of their followers, and republished
elsewhere for persons in this circuit and the entire world to see and hear.

45. These false, misleading and defamatory tweets were further disseminated by
thousands of “retweets” and “likes” by thousands of their followers and others
covered by the media, which was the intent of the posting.

46. Plaintiff Zimmerman has been severely harmed and damaged by these false and
misleading defamatory statements because they subjected him to hatred, distrust,

ridicule, contempt, and disgrace.

THIRD CAUSE OF ACTION
Defamation Per Se
Defendants Buttigieg and Warren

47. Plaintiff Zimmerman repeats and re-alleges all of the previous allegations of the
entirety of this Complaint with the same force and effect, as if fully set forth
herein again at length.

48. Defendants, together and both of them acting in concert, jointly and severally,
and individually, have defamed Plaintiff Zimmerman by knowingly,
intentionally, willfully, and recklessly publishing statements about him which
they knew or should have known to be false and misleading.

49. Defendants made and published false and defamatory statements concerning
Plaintiff Zimmerman by calling, representing and publishing within this district,

the nation and the world, with actual malice, that Plaintiff Zimmerman was

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directly responsible for “white supremacy,” “gun violence,” “prejudice,” “fear”

and “racism,” among other defamatory innuendos and statements as explained

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above; and thus murdered Trayvon Martin as a result.

50. These statements are defamatory per se because they falsely accuse Plaintiff
Zimmerman of committing a serious crime, which he was exonerated for, and
which amounts to a crime of moral turpitude. As defamation per se, actual malice
and damage to Plaintiff Zimmerman is presumed as a matter of law.

51. Defendants acted in concert and are therefore jointly and severely liable as joint
tortfeasors, and individually.

52. Defendants acted with actual malice insofar as they knew that the statements
made against Plaintiff Zimmerman were false and/or recklessly disregarded their
truth. Defendants had reason to know that their tweets were false and misleading.

Defendants’ statements and the tweets were made without any privilege.
53.

54. Defendants’ false words concerning Plaintiff Zimmerman are so harmful that
proof of their injurious effect is unnecessary.

55. As a direct and proximate result of Defendants’ extreme, outrageous and
malicious, defamatory conduct set forth above, Plaintiff Zimmerman has been the
subject of widespread ridicule and humiliation and has suffered severe loss of
reputation, which has in turn also caused him pain and financial damage.

56. These false impressions of Plaintiff Zimmerman, which Defendants created,
caused irreparable harm to him, his reputation, his business and person and his
calling, as well as to his family. He has also suffered financial damages.

57. Defendants published numerous false, misleading slanderous, defamatory
statements to severely harm and damage Plaintiff Zimmerman on their Twitter

accounts.

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58. These false, misleading and defamatory statements were published on Twitter and

| disseminated on the Internet and retweeted and covered widely in the media for
persons in this circuit and the entire world to see and hear.

59. These false, misleading and defamatory statements were published with actual
malice, as Defendants knew that they were false and misleading, and/or at a
minimum acted with a reckless disregard for the truth. Defendants also had
reason to know that they were false and exhibited a reckless disregard for the
truth.

60. Plaintiff Zimmerman has been severely harmed and damaged by these false and
misleading defamatory statements because they subject him to hatred, distrust,
ridicule, contempt, and disgrace.

61. These statements are per se defamatory because they falsely accuse Plaintiff

Zimmerman of having committed a felony crime.

62. As aresult of this, Plaintiff Zimmerman suffered severe reputational and other
special and general damages, as set forth above.

IV. Relief

WHEREFORE, Plaintiff George Zimmerman prays for judgment against

Defendants as follows:

63. Awarding Plaintiff Zimmerman compensatory and actual including consequential

and incidental damages in excess of $ 75,000.00 U.S. Dollars for loss of good

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will and reputation and financial and other damages as pled above in all counts;
64. Awarding Plaintiff Zimmerman attorney’s fees and costs;
65. Granting any further reliefas the Court deems appropriate including preliminary
and permanent injunctive relief, as well as leave to later amend to add a claim for

punitive damages pursuant to Section 768.72 of the Florida Statutes;

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
of my knowledge, information and belief that this complaint: (1) is not being presented
for an improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;

and (4) the complain other wise complies with the requirements of Rule 11.

I hereby certify that on March 9, 2021, I filed a copy of the foregoing Notice of
Appearance with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all counsel of record.

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Attorney for Defendants

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Respectfully submitted March 9, 2021,

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